                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:21-CV-00514-FDW-DSC


 AVADIS et al.,                                   )
                                                  )
                   Plaintiffs,                    )
                                                  )
 v.                                               )                     ORDER
                                                  )
 AZAR et al.,                                     )
                                                  )
                  Defendants.                     )



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for Edmundo Espinoza]” (documents #3) filed September 28, 2021.


       The Court has reviewed Mr. Espinoza’s Declaration as well as records on the California

State Bar website. He was admitted to the California Bar in 1975. The California Bar imposed a

“Public Reproval with Duties” as to Mr. Espinoza on October 12, 2006. He was previously subject

to a ‘Private Reproval, Public Disclosure” on April 9, 1995. His bar status is currently active with

no further disciplinary actions. For the reasons set forth therein, the Motion will be granted.


       All counsel are advised that local counsel must sign all documents submitted to the Court

and as such are accountable for the substance of such submissions under Rule 11 of the Federal

Rules of Civil Procedure.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Frank D. Whitney.




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SO ORDERED.



                       Signed: September 30, 2021




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